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13
                                    UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN FRANCISCO DIVISION
16

17
     ASHLEY GJOVIK,                                 Case No. 23-cv-4597-EMC
18
                       Plaintiff,                   [PROPOSED] ORDER GRANTING
19                                                  DEFENDANT APPLE INC.’S MOTION
            v.                                      TO DISMISS PLAINTIFF’S FIRST
20                                                  AMENDED COMPLAINT
     APPLE INC.,
21                                                  Dept:    Courtroom 5, 17th Floor
                       Defendant.                   Judge:   Honorable Edward M. Chen
22                                                  Date:    February 8, 2024
                                                    Time:    1:30 p.m.
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                                                                [PROPOSED] ORDER GRANTING
                                                             DEFENDANTS’ MOTION TO DISMISS
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                                                         [PROPOSED] ORDER GRANTING
                                                      DEFENDANT’S MOTION TO DISMISS
      Case 3:23-cv-04597-EMC Document 30-1 Filed 11/16/23 Page 3 of 4



 1          Pending before the Court is Defendant Apple, Inc.’s Motion to Dismiss Plaintiff’s First

 2   Amended Complaint. Having considered the relevant papers and pleadings on file with the Court

 3   in this matter, as well as the arguments of counsel, the Court determines:

 4      1. The Court DISMISSES, with prejudice, Plaintiff’s First Claim under the Sarbanes-Oxley

 5          Act (“SOX”) because Plaintiff fails to (1) identify the misrepresentations that support her

 6          claim, (2) allege Apple’s alleged conduct constituted mail fraud, wire fraud or bank fraud,

 7          or violated any securities laws that can form the predicate of a SOX claim, and (3) allege

 8          she complained to a supervisor or other individual at Apple with authority to investigate, or

 9          that Apple knew of her complaint to the Securities and Exchange Commission.
10      2. The Court DISMISSES, with prejudice, Plaintiff’s Second Claim under the Dodd-Frank

11          Wall Street Reform and Consumer Protection Act because it is derivative of her SOX claim.

12          A claim under Dodd-Frank requires that Plaintiff allege a violation actionable under SOX,

13          which Plaintiff has not properly alleged.

14      3. The Court DISMISSES, with prejudice, Plaintiff’s Third Claim under the California Bane

15          Civil Rights Act because Plaintiff fails to allege facts showing that Apple interfered with

16          Plaintiff’s constitutional or statutory rights; or that such interference was accompanied by

17          actual or attempted threats, intimidation, or coercion.

18      4. The Court DISMISSES, with prejudice, Plaintiff’s Fourth Claim under the California

19          Ralph Civil Rights Act because Plaintiff does not allege facts suggesting any threat of
20          violence by Apple or that any conduct by Apple was based on her political affiliation or

21          other protected characteristic.

22      5. The Court DISMISSES, with prejudice, Plaintiff’s Fifth Claim under Racketeer

23          Influenced and Corrupt Organizations Act (“RICO”) because the Private Securities

24          Litigation Reform Act (“PSLRA”) bars it. Moreover, Plaintiff fails to allege Apple used or

25          invested money it received from supposed racketeering to injure her, and because she fails

26          to plead the existence of an “enterprise” separate and distinct from Apple or a pattern of

27          racketeering activity.

28      6. The Court DISMISSES, with prejudice, Plaintiff’s Sixth Claim asserting strict liability for

                                                                         [PROPOSED] ORDER GRANTING
                                                                      DEFENDANT’S MOTION TO DISMISS
      Case 3:23-cv-04597-EMC Document 30-1 Filed 11/16/23 Page 4 of 4



 1            ultrahazardous activities because it is time-barred and, even if it were not, operating a

 2            facility on a Superfund site and operating a semiconductor facility are not ultrahazardous

 3            activities.

 4      7. The Court DISMISSES, with prejudice, Plaintiff’s Seventh Claim under California Labor

 5            Code section 1102.5 because Plaintiff fails to allege any facts that would establish a

 6            violation of the sole underlying statute she identifies as a predicate for this claim (California

 7            Labor Code section 435).

 8      8. The Court DISMISSES, with prejudice, Plaintiff’s Eighth Claim under California Labor

 9            Code section 98.6 predicated on an alleged violation of Labor Code section 96(k) because
10            Plaintiff fails to allege she was terminated for asserting a recognized constitutional right.

11      9. The Court DISMISSES, with prejudice, Plaintiff’s Eleventh Claim for private nuisance

12            under California Civil Code section 3479 because it is time-barred.

13            Accordingly, Defendant Apple Inc.’s Motion to Dismiss is GRANTED, and Plaintiff’s

14   first, second, third, fourth, fifth, sixth, seventh, eighth, and eleventh claims are DISMISSED with

15   prejudice, as set forth above.

16   IT IS SO ORDERED

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18   Dated:
                                                                  HON. THOMAS M. CHEN
19                                                              U.S. DISTRICT COURT JUDGE
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                                                                            [PROPOSED] ORDER GRANTING
                                                        -4-              DEFENDANT’S MOTION TO DISMISS
